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 1                      UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK
 2
     - - - - - - - - - - - - - - - -X
 3   UNITED STATES OF AMERICA,      : 18-CR-468 (WFK)
                                    :
 4              Plaintiff,          :
                                    : United States Courthouse
 5           -against-              : Brooklyn, New York
                                    :
 6   ALI SALEH,                     :
                                    : Thursday, December 6, 2018
 7             Defendant.           : 12:00 p.m.
     - - - - - - - - - - - - - - - -X
 8

 9
           TRANSCRIPT OF CRIMINAL CAUSE FOR STATUS CONFERENCE
10             BEFORE THE HONORABLE WILLIAM F. KUNTZ, II
                      UNITED STATES DISTRICT JUDGE
11

12

13                          A P P E A R A N C E S:

14   For the Government:          RICHARD P. DONOGHUE, ESQ.
                                  United States Attorney
15                                Eastern District of New York
                                  271 Cadman Plaza East
16                                Brooklyn, New York 11201
                                  BY: PHILIP SELDEN, ESQ.
17                                     Assistant United States Attorney

18   For the Defendant:           STEVE ZISSOU & ASSOCIATES
                                  42-40 Bell Blvd.
19                                Suite 302
                                  Bayside, New York 11361
20                                BY: STEVEN ZISSOU, ESQ.

21                                                  And

22                                MICHAEL K. BACHRACH
                                  276 Fifth Avenue
23                                Suite 501
                                  New York, New York 10001.
24                                BY: MICHAEL K. BACHRACH, ESQ.

25



                             David R. Roy, RPR, CSR, CCR
                                Official Court Reporter
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 1   Court Reporter:           DAVID R. ROY, RPR
                               225 Cadman Plaza East
 2                             Brooklyn, New York 11201
                               drroyofcr@gmail.com
 3
     Proceedings recorded by Stenographic machine shorthand,
 4   transcript produced by Computer-Assisted Transcription.

 5
                       P   R    O    C    E   E   D   I   N   G   S
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 7

 8               (In open court.)

 9               THE COURTROOM DEPUTY:            All rise.

10               THE COURT:      We will wait for the defendant to be

11   brought in the and then we will take appearances.

12               (Pause in proceedings.)

13               THE COURT:      The defendant is being presented.             I

14   will hear from the Government first for appearances and then

15   from Defense Counsel.

16               MR. SELDEN:        Good afternoon, Your Honor.

17               THE COURT:      Good afternoon, sir.

18               MR. SELDEN:        Thank you, Your Honor.            On behalf of

19   the United States, Assistant United States Attorney Phil

20   Selden.    Your Honor, I'm joined at counsel table by

21   Special Agent from the Federal Bureau of Investigation

22   Justin Lewellen.      Good afternoon, Your Honor.

23               THE COURT:      Good afternoon.          Please be seated,

24   gentlemen, and remain seated throughout the balance of the

25   conference.



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 1               MR. SELDEN:     Thank you, Your Honor.

 2               THE COURT:     Thank you.

 3               MR. ZISSOU:     Good afternoon, Your Honor.

 4               THE COURT:     Good afternoon.

 5               MR. ZISSOU:     Mr. Saleh today is represented by

 6   Steve Zissou, Z-I-S-S-O-U.        Mr. Ricco is involved in a

 7   hearing in Manhattan.       He sends his regrets for not being

 8   here.

 9               THE COURT:     I understand.    Thank you.

10               Mr. Bachrach, I have signed the order approving

11   your appointment as being entered and it is received.

12               MR. BACHRACH:     Thank you very much, Your Honor.

13               THE COURT:     Thank you very much.        I appreciate it,

14   sir.

15               And I note the defendant is present.

16               All right.     We are here on a status conference.

17   Just to be clear, Mr. Bachrach, your appearance is in both

18   cases, both 18-CR-517 and 18-CR-418, correct?

19               MR. BACHRACH:     Yes, Your Honor.

20               THE COURT:     Thank you.    The order has been entered

21   and my colleague, Mr. Jackson, our courtroom deputy, has

22   taken case of that.       So thank you very much.

23               MR. BACHRACH:     I appreciate it.

24               THE COURT:     All right.    I will hear from the

25   Government as to where we are in the case and then from the



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 1   defense counsel.

 2               MR. SELDEN:     Thank you, Your Honor.

 3               THE COURT:     Proceed.

 4               MR. SELDEN:     Your Honor, to date the Government

 5   has provided the five discovery productions to the defense,

 6   included in those discovery productions are reports of

 7   interviews, video of the incident alleged in question, as

 8   well as the defendant's statements.         In addition, medical

 9   records have been provided to the defense.

10               To date the Government has had an opportunity to

11   review through what we believe the lion's share of the

12   discovery, and we think that the majority of it has been

13   turned over to the defense.        Having an opportunity to meet

14   with the special agent involved in the case, we are still in

15   the process of collecting any outstanding discovery and the

16   supplement, and we believe that the majority of the

17   discovery has been provided.

18               Your Honor, when we most recently meet, Defense

19   asked for several months to review discovery and to take

20   certain steps.     Moving forward, to date the Government

21   believes that in light of the discovery production almost

22   complete, we might reach a point where motion hearings

23   and/or a trial date would be appropriate.

24               Thank you, Your Honor.

25               THE COURT:     Well, let me ask you just before I



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 1   hear from defense counsel, we can do this one of two ways.

 2   We can essentially set an appropriate trial date in the

 3   vicinity roughly as to June, July, August, and set a motion

 4   date that is amenable to both parties.          You can do it by way

 5   of stipulation and proposed order or ECF.          Or if you think

 6   it would be useful -- and I will hear from Defense Counsel

 7   on this, too -- we can have one more status conferences in

 8   approximately two to three months to see where we are and

 9   whether we need to establish the motion and trial date at

10   that time.

11               So that being said, let me hear from Defense

12   Counsel.    And remain seated, sir.       Just pull the microphone

13   to you.

14               MR. ZISSOU:     Very well, Your Honor.

15               THE COURT:     Thank you, sir.

16               If you hit that button, make sure the little green

17   light is on.

18               MR. ZISSOU:     It's on, Your Honor.       Hopefully one

19   day I'll get to a point where I won't need this, but I've

20   got aways to go.

21               THE COURT:     Lean in, as they say in some circles,

22   to the microphone.       Just do your best.

23               MR. ZISSOU:     Judge, all of those alternatives I

24   think are reasonable.       I should point out that Mr. Selden's

25   representation that he has provided us with discovery



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 1   material is correct.       He's actually been quite professional

 2   and Johnny-on-the-Spot, if you will.          He's keeping it

 3   coming, and we have not had to ask for anything.           He seems

 4   to anticipate what our needs are.         And I think it's correct

 5   to say Rule 16, at least, is substantially complete.            There

 6   will be stragglers coming in, but I don't think anything

 7   more will be out there.

 8               The reason we think a further status conference

 9   would be appropriate is that there is an issue that involves

10   the unrelated case before Your Honor.          And so for the

11   following reasons, we're going to ask that Your Honor

12   schedule a status conference for both cases.           And here's

13   what it is, Judge:       As Your Honor may recall, the guilty

14   plea in the related case was on July 24th of 2018.           The

15   incident that concerns the case that is on before you today

16   was July 18th.     We were not aware that this indictment was

17   coming.    It came the following August the 28th.         To be sure,

18   it certainly would have been prudent if it was coming to

19   resolve the cases at that time.         Indeed, certainly the Court

20   should have been advised we think that a new indictment --

21   not just as a disciplinary matter -- but that a new

22   indictment was coming.       At the very least that Mr. Saleh

23   would have had all the information required.

24               So we think the --

25               THE COURT:     Required for what?



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 1               MR. ZISSOU:     To enter a knowing and voluntary

 2   guilty plea.    We think that the timing here may give rise to

 3   a motion to vacate his guilty plea on the related case.            I'm

 4   not suggesting that's a reasonable thing.

 5               THE COURT:     Let me just understand what you are

 6   saying.    He is in prison.        He allegedly assaults a prison

 7   guard, and on that same day he pleads guilty?

 8               MR. ZISSOU:     No.    The 18th is the indictment date

 9   for the incident.     The 24th is the date on which the guilty

10   plea was entered, same month, July.

11               THE COURT:     So he pleads guilty after the

12   incident?

13               MR. ZISSOU:     Correct.

14               THE COURT:     And you are saying that because he

15   pled guilty after the incident -- and you did not know about

16   the incident; is that what you are telling me?

17               MR. ZISSOU:     Well, I think Mr. Ricco knew that

18   there was a disciplinary incident.         We did not know that the

19   Government was investigating --

20               THE COURT:     Well, put aside whether you knew that

21   the Government was investigating, whether there would be an

22   additional indictment or superseding indictment, my question

23   to you is, did you know that there was an incident that your

24   client had been involved with at the time he pleaded guilty?

25               MR. ZISSOU:     Yes, Mr. Ricco was aware.



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 1               THE COURT:     When I say "you," I mean counsel for

 2   the defendant.     Counsel --

 3               MR. ZISSOU:     That is correct.

 4               THE COURT:     -- for the defendant knew that there

 5   had been an incident, correct?

 6               MR. ZISSOU:     That is correct.

 7               THE COURT:     And you are saying that even though

 8   counsel, distinguished counsel, experienced counselor for

 9   the defendant knew that there had been an incident at the

10   time of the guilty plea, you are saying that may provide a

11   basis for seeking the withdrawal of -- let me finish -- of

12   the guilty plea; is that what you are saying?

13               MR. ZISSOU:     In and of itself, no.      The question

14   really for us is, what did -- just to paraphrase a phrase

15   from -- I think it was Howard Baker in Watergate -- what did

16   the Government know and when did it know?          And so if at the

17   day that guilty plea was taken and a representative of

18   the Government understood that there was an ongoing

19   investigation that may lead to criminal charges, it seems to

20   us, at the very least, that the Government was obliged to

21   inform the Court before we proceeded on that particular day,

22   in addition to the defense, obviously.          I don't mean just

23   the Court prior to --

24               THE COURT:     All right.    It just seems to me you

25   are saying that because your client allegedly assaulted a



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 1   prison guard and that defense counsel knew about it and that

 2   your client alleges to plead guilty at a subsequent time,

 3   that that should provide a basis, perhaps, for the

 4   withdrawal of the guilty plea; is that what you are saying?

 5               MR. ZISSOU:     I believe it, at the very least --

 6               THE COURT:     Is that what you are saying?      I am

 7   just asking if that is what you are saying.

 8               MR. ZISSOU:     If the Government knew it was coming.

 9   In other words, it's not enough to say, There was an

10   incident, Judge.     Our clients get in incidents at the MDC

11   all the time.     I mean, they're -- they're --

12               THE COURT:     Well, now I am going to have to start

13   asking you what you knew about the incident.

14               Did you just think it was for taking an extra bar

15   of soap in the shower?

16               MR. ZISSOU:     I did not know --

17               THE COURT:     I do not mean you.     I mean your

18   colleague --

19               MR. ZISSOU:     I can't say.

20               THE COURT:     -- who is not here today --

21               MR. ZISSOU:     I can't --

22               THE COURT:     -- to answer these questions.

23               MR. ZISSOU:     I can't say exactly what he knew,

24   Your Honor.    But --

25               THE COURT:     Okay.   I tell you what.    I tell you



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 1   what I am going to do.      I am going to establish a trial date

 2   and a briefing schedule in this case.         I am also going to

 3   set another status conference in this case as though between

 4   those two items.

 5              So, Mr. Jackson, what do we have towards the end

 6   of June or the middle of July by way of availability?           I am

 7   assuming we are looking at a two- to three-week trial or a

 8   two-week trial.

 9              MR. ZISSOU:     I couldn't imagine it would last two

10   to three days.

11              THE COURT:     Well, then why don't we say when we

12   have a full contiguous week in that time, let's see what

13   counsels' availability is, and then we can reverse engineer

14   the briefing schedule.

15              MR. ZISSOU:     When I say that, obviously, I seek

16   the advice of Mr. Selden if he thinks we can --

17              THE COURT:     You know, that microphone will really

18   help.

19              MR. ZISSOU:     I beg your pardon, Judge.

20              THE COURT:     Pull it toward you.     Pull it to you,

21   Mr. Zissou.

22              MR. ZISSOU:     I will obviously rely on Mr. Selden's

23   judgment if he thinks --

24              THE COURT:     No.   First I am asking my court deputy

25   to give me his judgment as to when we have availability.



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 1   Then we will talk to the Government.         Then we will talk to

 2   you.

 3              MR. ZISSOU:     Fair enough.

 4              THE COURT:     Okay.   Mr. Jackson, you are on first.

 5              THE COURTROOM DEPUTY:       Judge, we have availability

 6   from July 22nd through July 26th.

 7              THE COURT:     All right.    Does that work for the

 8   Government?

 9              MR. SELDEN:     Yes.   Thank you, Your Honor.

10              THE COURT:     Does that work for you, and I know you

11   are not speaking for your colleague who is not here.           But

12   does that work for you, sir?       That is a yes or no.

13              MR. ZISSOU:     It does.

14              THE COURT:     Okay.   How about you?      That is a yes

15   or no.

16              MR. BACHRACH:     It does not, Your Honor.

17              THE COURT:     Okay.   Well, back to business.

18              Back to you, what do we have next, Mr. Jackson?

19              THE COURTROOM DEPUTY:       A week further or a month

20   out, Judge?

21              MR. BACHRACH:     Your Honor, if I may?

22              THE COURT:     No, no, you may not.

23              Mr. Jackson?

24              THE COURTROOM DEPUTY:       The next week we have

25   available is July 29th through August 2nd.



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 1              THE COURT:     All right.    Does that work for the

 2   Government?

 3              MR. SELDEN:     Yes.   Thank you, Your Honor.

 4              THE COURT:     Does that work for you?

 5              MR. ZISSOU:     All summer works for me, Judge.

 6              THE COURT:     Does that work for you?

 7              MR. BACHRACH:     No, Your Honor.

 8              THE COURT:     Okay.   When do we next have

 9   availability, Mr. Jackson?

10              THE COURTROOM DEPUTY:       Once again, Judge, we have

11   the following week August 5th through August 9th.

12              THE COURT:     Does that work for the Government?

13              MR. SELDEN:     Yes.   Thank you, Your Honor.

14              THE COURT:     Does that work for Defense Counsel?

15              MR. ZISSOU:     It does, Your Honor.

16              THE COURT:     Does it work for Defense Counsel?

17              MR. BACHRACH:     Your Honor, I'm booked through the

18   end of August in a capital case, and --

19              THE COURT:     Well, you know, you just asked to come

20   in in this case, and now you are telling me you are booked

21   in a capital case?

22              MR. BACHRACH:     Your Honor --

23              THE COURT:     When are you available?

24              MR. BACHRACH:     Your Honor --

25              THE COURT:     When are you available earlier?



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 1              MR. BACHRACH:     I'm available in June, Your Honor.

 2              THE COURT:     All right.

 3              Well, what do we have in June, Mr. Jackson?

 4              THE COURTROOM DEPUTY:       Okay.   June 3rd,

 5   Your Honor, through June 7th.

 6              THE COURT:     Is that available to the Government?

 7              MR. SELDEN:     Yes.   Thank you, Your Honor.

 8              THE COURT:     Okay.   Is that available to you?

 9              MR. ZISSOU:     It is, Your Honor.

10              THE COURT:     All right.    That is when we will book

11   the trial, and we will set an appropriate briefing schedule.

12              And now let's talk about the next status

13   conference date, we will have a briefing schedule.           You can

14   submit a proposed joint order on ECF for motions, and if you

15   cannot do it, trust me, I can, and I will.

16              Okay.   When would you like to come back for your

17   status conference, and we will exclude time in the interest

18   of justice?

19              MR. ZISSOU:     Of course.

20              THE COURT:     Complex case and all that.       When would

21   you like to come back for a status conference?

22              The Government first.       It should be a time after

23   you have completed your Rule 16 discovery, and they should

24   have enough time to review it on the defense side.

25              MR. SELDEN:     Thank you, Your Honor.



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 1               Your Honor, if the Court has time amenable, the

 2   last week in January or the first week in February.

 3               THE COURT:     Let's look for the first week in

 4   February, Mr. Jackson.

 5               Do we have availability?

 6               THE COURTROOM DEPUTY:       We do, Judge.

 7               THE COURT:     The last -- what day, a Friday, let's

 8   say?

 9               THE COURTROOM DEPUTY:       We have a jury trial

10   scheduled for that day.       We have availability at 12 o'clock

11   noon.

12               THE COURT:     Civil?

13               THE WITNESS:     It is a civil trial, Judge.

14               THE COURT:     Okay.

15               THE COURTROOM DEPUTY:       Correct.

16               THE COURT:     No problem.

17               12:00 noon work on Friday the what, Mr. Jackson?

18               THE COURTROOM DEPUTY:       That is the 8th of

19   February.

20               THE COURT:     Does that work for the prosecution?

21               MR. SELDEN:     Yes.    Thank you, Your Honor.

22               THE COURT:     Does that work for Defense for a

23   status conference?

24               MR. ZISSOU:     Well, Judge, it does, but I --

25               THE COURT:     I like the "it does" part.



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 1               Let me hear from your colleague.           Does it work for

 2   you?

 3               MR. BACHRACH:     Most definitely, Your Honor.

 4               THE COURT:     Okay.   That is the status conference.

 5   And we will exclude time in the interest of justice to that

 6   day or --

 7               MR. ZISSOU:     Judge --

 8               THE COURT:     No, no.   Hang on.    Hang on.    That was

 9   not addressed to you.       That was to your client who is -- I

10   am sure had a leg cramp or something.

11               MR. ZISSOU:     Well, we all stood up, Judge.

12               THE COURT:     Yeah.   Well, let's just not do that.

13               MR. ZISSOU:     I didn't.    I felt people standing up,

14   so I stood, too.

15               THE COURT:     Okay.

16               Do you have something else to say?

17               MR. ZISSOU:     So my concern was that the status

18   conference that far out, even though I am available to the

19   Court, will not help us resolve this little concern I have

20   about the timing of the filing of this indictment.             It seems

21   to me that that's kind of a threshold issue.             Depending on

22   how it goes, you know, there may be arguable ineffectiveness

23   claims despite the fact that you appointed a dream team of

24   qualified, cleared, you know, deeply experienced counsel.

25   This kind of --



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 1               THE COURT:     Do you have a suggestion to make,

 2   Counsel?

 3               MR. ZISSOU:     Well, I think we should have a status

 4   conference with the other case sooner than later.

 5               THE COURT:     Okay.   Well, I heard your suggestion.

 6   I decline to accept it.       That is the schedule.

 7               Anything else?

 8               MR. SELDEN:     Not for us, Your Honor.

 9               THE COURT:     Anything else?

10               MR. ZISSOU:     I'm just -- I'm thinking.     I hate

11   leaving stuff out.       My --

12               THE COURT:     I heard your suggestion.     The answer

13   is I am not accepting your suggestion with respect to the

14   schedule.

15               MR. ZISSOU:     No, Your Honor, despite anything

16   else, I'm not --

17               THE COURT:     Do you have anything else?

18               MR. ZISSOU:     No, on that.    That's what I'm saying.

19               THE COURT:     Okay.

20               MR. ZISSOU:     I'm just trying to remember if I had

21   anything that I wanted to bring up, and I think the answer

22   is no, Judge.       I thank you for your indulgence.

23               THE COURT:     There you go.

24               Okay.    Mr. Jackson, do you have the form?

25               THE COURTROOM DEPUTY:       Yes.



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 1              Thank you, Counsel.

 2              Judge, the order has been signed by Counsel, but

 3   not by the defendant.

 4              THE COURT:     All right.    I have a waiver of speedy

 5   trial and order of excludable delay in this case excluding

 6   time in the interest of justice of today's date, December 6,

 7   2018 to and including February 8 of 2019.         It has been

 8   marked as Court's 1.      It is signed by Defense Counsel, by

 9   the Assistant United States Attorney, but not by the

10   defendant.    This has been declared a complex case, and I am

11   excluding time on that basis.

12              The defendant is, I take it, not agreeing to

13   exclude time.    Is that right?

14              MR. ZISSOU:     Well, defense counsel.      The defendant

15   does not want to sign it.

16              THE COURT:     I said the defendant is not.

17              MR. ZISSOU:     He does not --

18              THE COURT:     You might have heard me if you weren't

19   looking at your handheld.

20              MR. ZISSOU:     No, no.   I --

21              THE COURT:     What I said was, the defendant -- I

22   want to confirm.     The defendant has declined to sign the

23   extension of time.

24              Is that right?

25              MR. ZISSOU:     That is correct, Your Honor.



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 1                        THE COURT:                   Okay.      That's cool.

 2                        Okay.         I am entering the order extending time in

 3   the interest of justice.

 4                        Is there anything else?

 5                        MR. SELDEN:                  Nothing further from the Government.

 6   Thank you, Your Honor.

 7                        THE COURT:                   Anything from Defense Counsel?

 8                        MR. ZISSOU:                  No, Your Honor.

 9                        THE COURT:                   Thank you.              Have a nice day everybody.

10                        MR. ZISSOU:                  Thank you, Your Honor.

11                        (Matter concluded.)

12                                                           --oo0oo--

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18                            DAVID          R.    ROY                                               D a t e


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                                                     Official Court Reporter
